 1                                                                            Honorable James L. Robart

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                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON

 8    WILFREDO FAVELA AVENDAÑO, et
      al.,                                               Case No. 20-cv-700-JLR-MLP
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                     Petitioners-Plaintiffs,             [PROPOSED] ORDER GRANTING
10                                                       JOINT MOTION FOR PRELIMINARY
                             v.                          APPROVAL OF PROPOSED CLASS
11                                                       SETTLEMENT
      Drew BOSTOCK, Director of the Seattle
12    Field Office of U.S. Immigration and Customs
      Enforcement, et. al.,
13
                     Respondents-Defendants.
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15          The Parties have filed a Joint Motion for Preliminary Approval of the class action

16   settlement. The Court has carefully considered the Class Settlement Agreement (the

17   “Agreement”) together with all exhibits thereto, all the filings related to the settlement, the

18   arguments of counsel, and the record in this case. The Court hereby gives its preliminary

19   approval of the settlement; finds that the Agreement is sufficiently fair, reasonable, and adequate

20   to allow dissemination of notice of the Agreement (“Class Notice”) to the Class and to hold a

21   Fairness Hearing; orders the Class Notice to be sent to the Class in accordance with the

22   Agreement and this Order; and schedules a Fairness Hearing to determine whether the proposed

23   settlement is fair, adequate, and reasonable.

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     [PROPOSED] ORDER GRANTING PRELIM.                     NORTHWEST IMMIGRANT RIGHTS PROJECT
     APPROVAL OF CLASS SETTLMENT - 1                                         615 2nd Ave Ste. 400
     Case No. 2:20-cv-700-JLR-MLP                                               Seattle, WA 98104
                                                                                Tel: 206-957-8611
 1   IT IS HEREBY ORDERED THAT:

 2         1. The Agreement is hereby incorporated by reference in this Order, and all terms or

 3         phrases used in this Order shall have the same meaning as in the Agreement.

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           2. The Court preliminarily approves the Agreement, provisionally finding that the terms
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           of the Agreement are fair, reasonable, and adequate as required by Fed. R. Civ. P.
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           23(e)(2), and within the range of possible approval and sufficient to warrant providing
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           notice to the Class.
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           3. The Court previously certified the class as “All individuals detained at the Northwest
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           Detention Center who are age 55 years or older or have medical conditions that place
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           them at heightened risk of severe illness or death from COVID-19 as determined by
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           Centers for Disease Control and Prevention guidelines.” This is also the class for
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           settlement purposes.
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           4. The Court finds that the proposed Class Notice and the proposed plan of distribution of
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           the Class Notice meet the requirements of Federal Rule of Civil Procedure 23(e)(1) and
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           hereby directs Class Counsel to proceed with the notice distribution in accordance with
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           the terms of the Agreement. In so doing, the Court approves the procedures set forth in
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           Section XV.B of the Agreement, and the Notice of Settlement of Class Action, Exhibit A
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           to the Agreement, for objections to the settlement.
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20         5. Any Class Member who wishes to object to the Agreement must do so within 60 days

21         of this Order.

22         6. The Court directs that a hearing be scheduled on Tuesday, May 30, 2023, at 10:00 a.m.

23         (the “Fairness Hearing”) to assist the Court in finally determining whether the settlement

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                                                                             Tel: 206-957-8611
 1         is fair, reasonable and adequate; and whether Final Judgment should be entered

 2         dismissing with prejudice Defendants in the above-captioned action but retaining

 3         jurisdiction in this Court to interpret and enforce the Agreement for its duration. The

 4         Fairness Hearing shall be held in Courtroom 14A at the United States Courthouse, 700

 5         Stewart Street, Seattle, Washington, 98101. Plaintiffs shall file a motion for final

 6         approval of the settlement no later than 14 days before the Fairness Hearing.

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           7. The Agreement provides that ICE shall pay Plaintiffs the amount of $500,000 in
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           attorneys’ fees and costs. The Court preliminarily finds that the provisions for payment of
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           attorneys’ fees and costs are reasonable.
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           8. Neither the settlement, nor any exhibit, document, or instrument delivered thereunder
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           shall be construed as or deemed to be evidence of an admission or concession by
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           Defendants or an interpretation of any liability or wrongdoing by Defendants, or of the
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           truth of any allegations asserted by Plaintiffs, Class Members, or any other person.
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           9. If the Agreement is not finally approved, or the Effective Date does not occur, or the
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           settlement is terminated under its terms, then (a) all parties will proceed as if the
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           Agreement (except those provisions that, by their terms, expressly survive disapproval or
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           termination of the settlement) had not been executed and the related orders and judgment
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           had not been entered, preserving in that event all of their respective claims and defenses
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           in the action; and (b) all releases given will be null and void. In such an event, this
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           Court’s orders regarding the Agreement, including this Preliminary Approval Order, shall
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           not be used or referred to in litigation for any purpose. Nothing in the foregoing
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           paragraph is intended to alter the terms of the Agreement with respect to the effect of the
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           Agreement if it is not approved.
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                                                                               Tel: 206-957-8611
 1          10. The Parties’ Joint Motion for Preliminary Approval of Proposed Class Settlement

 2          (“Motion”) is hereby GRANTED. The Court hereby preliminarily approves the proposed

 3          class-wide relief set forth in the Agreement (attached to the Joint Motion), hereby

 4          approves the proposed form and plan of notice (addressed in the Agreement), and hereby

 5          schedules the Fairness Hearing.

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     IT IS SO ORDERED.
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 8   Dated this 28th day of March, 2023.

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                                                  A
                                                  Honorable James. L. Robart
                                                  United States District Judge
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     Presented this 24th day of March, 2023.
13
      /s/ Matt Adams                                  /s/ David C. Fathi
14    Matt Adams, WSBA No. 28287                      David C. Fathi, WSBA No. 24893**
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                                                                              Tel: 206-957-8611
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 8                                                  federal courts

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11   United States Attorney

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23

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